        Case 1:23-cr-00029-APM Document 25 Filed 05/23/23 Page 1 of 3




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                 )
                                         )
      V.                                 )      Case No.: 1:23-cr-029-AMP
                                         )
BOBBY WAYNE RUSSELL                      )

           JOINT MOTION TO CONTINUE AND EXCLUDE TIME
                    UNDER SPEEDY TRIAL ACT

       Defendant Bobby Wayne Russell, through undersigned counsel, hereby files

this motion to continue the change of plea hearing currently set for May 26, 2023 in

the above-captioned matter, for approximately 30 days until June 26, 2023 (or a

subsequent date suitable to the Court and counsel). Government counsel concurs in

this motion. The parties request the additional time to engage in plea negotiations

and review ongoing discovery productions.

       The parties further request that the Court exclude the time until change of plea

hearing, pursuant to 18 U.S.C. § 3161 et seq., on the basis that the ends of justice served

by taking such actions outweigh the best interest of the public and the defendant in a

speedy trial pursuant to the factors described in 18 U.S.C. § 3161(h)(7)(A).

                                         Respectfully submitted,


                                         KEVIN L. BUTLER
                                         Federal Public Defender

                                         /s/Jake Watson
                                         Jake Watson
                                         Assistant Federal Public Defender
                                         Office of the Federal Public Defender
                                         Northern District of Alabama
                                         505 20th Street, North, Suite 1425
         Case 1:23-cr-00029-APM Document 25 Filed 05/23/23 Page 2 of 3




                                       Birmingham, Alabama 35203
                                       (205) 208-7170 Office
                                       Jake_Watson@fd.org


                             CERTIFICATE OF SERVICE

       I hereby certify that on May 23, 2023 I electronically filed the foregoing with

the Clerk of Court using the CM/ECF system which will send notification of such

filing to all parties of record.

                                       Respectfully submitted,

                                       /s/Jake Watson
                                       Jake Watson
        Case 1:23-cr-00029-APM Document 25 Filed 05/23/23 Page 3 of 3




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     )
                                             )
      V.                                     )       Case No.: 1:23-cr-029-AMP
                                             )
BOBBY WAYNE RUSSELL                          )

                                            ORDER


       Based upon the representations in the Joint Motion to Continue and to Exclude Time

Under the Speedy Trial Act, and upon consideration of the entire record, it is hereby

       ORDERED that the Motion is GRANTED; it is further

       ORDERED that the currently scheduled change of plea hearing on May 26, 2023,

be continued for good cause to June              , 2023, at   p.m., and it is further

ORDERED that the time between May 26, 2023 and June                   , 2023 shall be excluded

from calculation under the Speedy Trial Act, see 18 U.S.C. § 3161(h)(7)(A). The Court finds

that the ends of justice served by the granting of such a continuance outweighs the best

interests of the public and the defendant in a speedy trial, as a continuance will provide the

parties additional time to review discovery, engage in plea negotiations, and complete

logistical steps related to an anticipated plea-trial resolution.




                                     THE HONORABLE AMIT P. MEHTA
                                     UNITED STATES DISTRICT JUDGE
